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 7

 8                               UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
10

11   SUSAN GAGETTA and TRACIE GOMEZ, on                  Case No.
     behalf of themselves and all others similarly
12   situated,
                                                         CLASS ACTION COMPLAINT
13                            Plaintiffs,
14          v.                                           JURY TRIAL DEMANDED
15   WALMART INC.,
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                              Defendant.
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 1          Plaintiffs Susan Gagetta and Tracie Gomez, individually and on behalf of all others similarly

 2   situated, allege the following against Defendant Walmart, Inc. (“Walmart” or “Defendant”) on

 3   information and belief, except that Plaintiffs’ allegations as to their own actions are based on personal

 4   knowledge.

 5                                       NATURE OF THE ACTION

 6          1.      This action seeks to recover damages and injunctive relief for Defendant’s continuing

 7   failure to disclose to consumers that certain Walmart Inc. herbs and spices sold under the brand name

 8   “Great Value,” including Great Value’s Basil Leave, Chili Powder, Ground Cumin, Organic Ground

 9   Ginger, and Organic Paprika (collectively, the “Products”), contain (or risk containing) lead, arsenic,

10   and cadmium (collectively “Heavy Metals”).

11          2.      A November 2021 report by Consumer Reports states that the offending herbs and

12   spices, including the Products, “had high enough levels of arsenic, lead, and cadmium combined, on

13   average, to pose a health concern for children when regularly consumed in typical servicing sizes.

14   Most raise concern for adults, too.”1

15          3.      Heavy Metals in foods pose a serious safety risk to consumers because they can cause

16   cancer and serious and often irreversible damage to brain development as well as other serious health

17   problems.

18          4.      As described more fully below, consumers who purchase the Products are injured by

19   Defendant’s acts and omissions concerning the presence (or risk) of Heavy Metals. No reasonable

20   consumer would know, or have reason to know, that the Products contain (or risk containing) Heavy

21   Metals. Worse, as companies across the industry have adopted methods to limit heavy metals in

22   their herbs and spices, Defendant has stood idly by with a reckless disregard for its consumers’ health

23   and well-being. As such, Plaintiffs seek relief in this action individually and as a class action on

24   behalf of all purchasers of the Products.

25   ///

26   1
      Lisa L. Gill, “Your Herbs and Spices Might Contain Arsenic, Cadmium, and Lead,” Consumer
     Reports (Nov. 9, 2021), https://www.consumerreports.org/food-safety/your-herbs-and-spices-
27   might-contain-arsenic-cadmium-and-lead/ (last accessed June 22, 2022).
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 1                                                  PARTIES
 2           5.       Plaintiff Susan Gagetta is a resident of Antioch, California, and a citizen of the State
 3   of California. Ms. Gagetta has purchased several of Defendant’s Products, including Great Value’s
 4   Chili Powder and Organic Paprika, as recently as May 2022 from Instacart and a Walmart located in
 5   Antioch, California. Plaintiff Gagetta believed she was purchasing quality and healthy spices that
 6   did not contain (or have a risk of containing) Heavy Metals. Had Defendant disclosed on the label
 7   that the Products contained (or risked containing) unsafe toxic Heavy Metals, Ms. Gagetta would
 8   have been aware of that fact and would not have purchased the Products or would have paid less for
 9   them.
10           6.       Ms. Gagetta continues to desire to purchase the Products from Defendant. However,
11   Ms. Gagetta is unable to determine if the Products are actually safe. Ms. Gagetta understands that
12   the composition of the Products may change over time. But as long as Defendant continues to market
13   its Products as safe, she will be unable to make informed decisions about whether to purchase
14   Defendant’s Products and will be unable to evaluate the different prices between Defendant’s
15   Products and competitor’s Products. Ms. Gagetta is further likely to be repeatedly misled by
16   Defendant’s conduct, unless and until Defendant is compelled to ensure that the Products marketed,
17   labeled, packaged and sold as a safe and healthy spice is, in fact, a safe and healthy spice.
18           7.       Plaintiff Tracie Gomez is a resident of Morgan Hill, California, and a citizen of the
19   State of California. Ms. Gomez has purchased several of Defendant’s Products, including Great
20   Value’s Basil Leave, Chili Powder, and Ground Cumin from a Walmart in Morgan Hill, monthly
21   during the Class Period. Plaintiff Gomez believed she was purchasing quality and healthy spices
22   that did not contain (or have a risk of containing) Heavy Metals. Had Defendant disclosed on the
23   label that the Products contained (or risked containing) unsafe toxic Heavy Metals, Ms. Gomez
24   would have been aware of that fact and would not have purchased the Products or would have paid
25   less for them.
26           8.       Ms. Gomez continues to desire to purchase the Products from Defendant. However,
27   Ms. Gomez is unable to determine if the Products are actually safe. Ms. Gomez understands that the
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 1   composition of the Products may change over time. But as long as Defendant continues to market
 2   its Products as safe, she will be unable to make informed decisions about whether to purchase
 3   Defendant’s Products and will be unable to evaluate the different prices between Defendant’s
 4   Products and competitor’s Products. Ms. Gomez is further likely to be repeatedly misled by
 5   Defendant’s conduct, unless and until Defendant is compelled to ensure that the Products marketed,
 6   labeled, packaged and sold as a safe and healthy spice is, in fact, a safe and healthy spice.
 7           9.      Defendant Walmart is a Delaware corporation with its headquarters in Bentonville,
 8   Arkansas. Defendant manufactures, markets, and sells herbs and spices, including the Products,
 9   throughout California and the United States. During the relevant period, Defendant controlled the
10   manufacture, design, testing, packaging, labeling, marketing, advertising, promotion, distribution,
11   and sales of its Products. Defendant therefore had complete control over how to label its Products
12   as to their contents.
13                                      JURISDICTION AND VENUE
14           10.     This Court has subject matter jurisdiction over this action pursuant to the Class Action
15   Fairness Act of 2005, Pub. L. No. 109-2 Stat. 4 (“CAFA”), which, inter alia, amends 28 U.S.C. §
16   1332, at new subsection (d), conferring federal jurisdiction over class actions where, as here: (a)
17   there are 100 or more members in the proposed classes; (b) some members of the proposed classes
18   have a different citizenship from Defendant; and (c) the claims of the proposed class members exceed
19   the sum or value of five million dollars ($5,000,000) in aggregate. See 28 U.S.C. § 1332(d)(2) and
20   (6).
21           11.     Venue is proper in this Court under 28 U.S.C. § 1391 because Defendant transacts
22   significant business within this District, at least one Plaintiff resides within this District, and a
23   substantial part of the events giving rise to Plaintiff’s claims took place within this District.
24                           FACTS COMMON TO ALL CAUSES OF ACTION
25   I.      Lead, Arsenic, and Cadmium Are Toxic
26           12.     Lead, arsenic, and cadmium are heavy metals. As described more fully below, the
27   harmful effects of heavy metals are well-documented, particularly on children. Exposure puts
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 1   children at risk for lowered IQ, behavioral problems (such as attention deficit hyperactivity
 2   disorder), type 2 diabetes, and cancer, among other health issues. Heavy metals also pose risks to
 3   adults. Even modest amounts of heavy metals can increase the risk of cancer, cognitive and
 4   reproductive problems, and other adverse conditions. As such, it is important to limit exposure.
 5          13.     “No amount of lead is known to be safe.”2 Exposure to lead may cause anemia,
 6   weakness, and kidney and brain damage.3 Lead can affect almost every organ and system in the
 7   body. Lead accumulates in the body over time, and can lead to health risks and toxicity, including
 8   inhibiting neurological function, anemia, kidney damage, seizures, and in extreme cases, coma and
 9   death. Lead can also cross the fetal barrier during pregnancy, exposing the mother and developing
10   fetus to serious risks, including reduced growth and premature birth. Lead exposure is also harmful
11   to adults as more than 90 percent of the total body burden of lead is accumulated in the bones, where
12   it is stored. Lead in bones may be released into the blood, re-exposing organ systems long after the
13   original exposure.4
14          14.     Arsenic is also dangerous to humans. “Arsenic is ranked first among toxicants posing
15   a significant potential threat to human health based on known or suspected toxicity.”5 Long term
16   exposure is linked to cardiovascular disease. Arsenic can also cause bladder, lung, liver, and skin
17   cancer, and strokes and diabetes. Recent studies have suggested that arsenic may cause IQ deficits
18   in children and may be harmful to fetal development as “even low concentrations of arsenic impair
19   neurological function[.]”6 There is “essentially no safe level” of arsenic.7
20
     2
21        See https://www.npr.org/sections/thetwo-way/2016/08/13/489825051/lead-levels-below-epa-
     limits-can-still-impact-your-health (last accessed June 22, 2022).
     3
22     Centers for Disease Control and Prevention, “Health Problems Caused by Lead,” The National
     Institute         for       Occupational          Safety        and       Health        (NIOSH),
23   https://www.cdc.gov/niosh/topics/lead/health.html#:~:text=Exposure%20to%20high%20levels%20
     of,a%20developing%20baby's%20nervous%20system. (last accessed June 22, 2022).
     4
24     State of New York Department of Health, “Lead Exposure in Adults: A Guide for Health Care
     Providers,” https://www.health.ny.gov/publications/2584.pdf (last accessed June 22, 2022).
     5
25     Christina R. Tyler and Andrea M. Allan, “The Effects of Arsenic Exposure on Neurological and
     Cognitive Dysfunction in Human and Rodent Studies: A Review,” Curr Environ Health Rep. 2014;
26   1(2): 132-147, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4026128/ (last accessed June 22,
     2022).
     6
27     Id.
     7
        See https://publicintegrity.org/environment/what-to-do-if-your-drinking-water-contains-arsenic/
28   (last accessed June 22, 2022).


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 1           15.       Cadmium is similarly harmful. “[A]ny cadmium exposure should be avoided.”8
 2   Exposure to cadmium may lead to damage to kidneys, lungs, and bones.9 “Even relatively low
 3   chronic exposure can cause irreversible renal tubule damage, potentially progressing to glomerular
 4   damage and kidney failure” and “bone loss often is seen in concert with these effects.”10 This metal
 5   is also known to cause cancer and targets the body’s cardiovascular, renal, gastrointestinal,
 6   neurological, reproductive, and respiratory systems.11
 7   II.     Defendant’s Products Contain Toxic Arsenic, Lead, and Cadmium
 8           16.       In November of 2021, Consumer Reports published a report titled “Your Herbs and
 9   Spices Might Contain Arsenic, Cadmium, and Lead.”             Employing the Analysis for Arsenic,
10   Cadmium, Lead, and Mercury by Triple Quadruple Inductively Coupled Plasma Mass Spectrometry
11   (IC-QQQ-MS), With Collision Cell, Consumer Reports determined that each of the Products
12   contains toxic Heavy Metals. Consumer Reports’ samples were prepared and analyzed in accordance
13   with the Association of Official Analytical Chemists (AOAC) Method 2015.01.
14           17.       Consumer Reports analyzed “126 individual products from national and private-label
15   brands, including Walmart’s Great Value.”12
16           18.       Consumer Reports determined that “[r]oughly one-third of the tested products, 40 in
17   total, had high enough levels of arsenic, lead, and cadmium combined, on average, to pose a health
18   concern for children when regularly consumed in typical serving sizes. Most raised concern for
19   adults, too.”13
20           19.       The authors cautioned that “just one serving—3/4 teaspoons or more—per day leaves
21   little room for heavy metal exposure from other sources” including in “fruit juice, baby food, and
22   8
        M. Nathaniel Mead, “Cadmium Confusion: Do Consumers Need Protection,” Environ Health
23   Perspect.              2010               Dec;              118(12):              A528-A534,
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3002210/ (last accessed June 22, 2022).
     9
24      See Agency for Toxic Substances and Disease Registry, “ToxFAQs for Cadmium,” Toxic
     Substances                                                                             Portal,
25   https://wwwn.cdc.gov/TSP/ToxFAQs/ToxFAQsDetails.aspx?faqid=47&toxid=15 (last accessed
     June 22, 2022).
     10
26      Mead, supra note 8.
     11
        See Occupational Safety & Health, “Cadmium,” https://www.osha.gov/cadmium (last accessed
27   June 22, 2022).
     12
        See n. 1, supra.
     13
28      Id.


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 1   rice[.]”14 These latter food categories have also tested high for heavy metals and have been the
 2   subject of numerous lawsuits.
 3           20.    With regards to the results, James E. Rogers, PhD, director of food safety and testing
 4   at Consumer Reports, remarked that “[w]hen people think about heavy metals in their diet, if they
 5   do at all, it’s probably the lead in their drinking water or arsenic in their children’s fruit juices or
 6   cereals . . . But our tests show that dried herbs and spices can be a surprising, and worrisome, source
 7   for children and adults.”15
 8           21.    Concerning the source of the heavy metals in herbs and spices, Consumer Reports
 9   stated that heavy metals may get into food, “including herbs and spices, during manufacturing—
10   from processing equipment or packaging[.]”16
11           22.    Along these lines, Consumer Reports determined that “it is possible for herb and spice
12   companies to limit heavy metals in their products” as “[a]bout two-thirds of the spices [Consumer
13   Reports] tested did not have concerning levels of heavy metals.”17
14           23.    Instead of adequately testing its Products like its competitors, Defendant chose to
15   ignore the health of the consuming public in pursuit of profit.
16
     III.    The Presence (or Risk) of Toxic Heavy Metals In Defendant’s Products Far Exceeds
17           Expectations of Reasonable Consumers
             24.    According to Global Market Insights, “[t]he demand for spices and seasonings has
18
     increased in recent years owing to their varied nutritional benefits.”18 Indeed, “[m]ore Americans
19
     are considering the use of spices and herbs for medicinal and therapeutic/remedy use, especially for
20
     various chronic conditions” as “[t]here is now ample evidence that spices and herbs possess
21
     antioxidant, anti-inflammatory, antitumorigenic, anticarcinogenic, and glucose-and cholesterol -
22

23

24   14
        Id.
     15
25      Id.
     16
        Id.
     17
26      Id.
     18
        Global Market Insights, “North America Seasonings Market to Exceed $5bn by 2027,” Press
27   Releases (Oct. 22, 2021), https://www.gminsights.com/pressrelease/north-america-seasonings-
     market?utm_source=globenewswire.com&utm_medium=referral&utm_campaign=Paid_globenew
28   swire (last accessed June 22, 2022).


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 1   lowering activities as well as properties that affect cognition and mood.”19 As such, the safety of
 2   herbs and spices that can be easily purchased to season such food, amongst others, is a material fact
 3   to reasonable consumers (such as Plaintiffs and the Class members).
 4          25.     Given the negative effects of toxic heavy metals (such as arsenic, lead, and cadmium)
 5   on child development and adult health, the presence of these substances in food is a material fact to
 6   reasonable consumers, including Plaintiffs and members of the Class.
 7          26.     Defendant knows that the safety of its herbs and spices (as a general matter) is a
 8   material fact to reasonable consumers, as demonstrated below.
 9          27.     As such, Defendant also knows that the presence (or risk) of toxic Heavy Metals in
10   its herbs and spices is a material fact to reasonable consumers, including Plaintiffs and the Class
11   members.
12          28.     A consumer survey confirms that purchasers of spices consider it important to know
13   if there are Heavy Metals (or the risk of Heavy Metals) in the products even in small amounts.
14   Plaintiffs’ counsel conducted a nationwide survey of just over 500 adult consumers who bought
15   spices, including Defendant’s spices, within the past two years.20 The vast majority (approximately
16   94%) answered that the presence or risk of even a small amount of Heavy Metals in the spices would
17   be either important or very important to their purchasing decisions.21
18
     19
19      T Alan Jiang, “Health Benefits of Culinary Herbs and Spices,” J AOAC Int. 2019 Mar 1; 102(2):
     395-411, 10.5740/jaoacint.18-0418 https://academic.oup.com/jaoac/article/102/2/395/5658185 (last
20   accessed June 22, 2022).
     20
        The survey included 503 participants over the age of 18, 259 of whom were female, 242 of
21   whom were male, and 2 of whom were non-binary. Some 67 percent of the participants were from
     the following states, with a minimum of 3% (15 participants) each: Arizona, California, Florida,
22   Illinois, Maryland, Michigan, New Jersey, New York, North Carolina, Ohio, Pennsylvania, Texas
     and Washington. The remaining approximately 33 percent, with a minimum of one participant
23   each, were from the following states: Alabama, Alaska, Arkansas, Colorado, Connecticut, District
     of Columbia, Georgia, Hawaii, Indiana, Iowa, Kansas, Kentucky, Louisiana, Maine,
24   Massachusetts, Minnesota, Mississippi, Missouri, Montana, Nebraska, Nevada, New Hampshire,
     New Mexico, North Dakota, Oklahoma, Oregon, South Carolina, Tennessee, Utah, Virginia, West
25   Virginia, and Wisconsin.
     21
        The question in the survey was as follows: “A November 2021 report of an investigation by
26   Consumer Reports reveals that certain brands of particular herbs and spices contain heavy metals
     consisting of lead, arsenic, and/or cadmium. Please select how important, if at all, would it be to
27   your purchasing decision if the spice(s) you purchased contained, or risked containing, even a
     small amount of the heavy metals previously described?” The response choices provided were as
28   follows: Not at all important; important; very important.


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 1          29.     Herbs and spices manufacturers (such as Defendant) hold a special position of public
 2   trust. Consumers believe that they would not sell products that are unsafe.
 3          30.     Defendant knew that if the presence (or risk) of toxic Heavy Metals in its herbs and
 4   spices was disclosed to Plaintiffs and the Class members, then Plaintiffs and the Class members
 5   would be unwilling to purchase them or would pay less for them.
 6          31.     In light of Defendant’s knowledge that Plaintiffs and the Class members would be
 7   unwilling to purchase the Products or would pay less for the Products if they knew that they contained
 8   (or risked containing) toxic Heavy Metals, Defendant intentionally and knowingly concealed this
 9   fact from Plaintiffs and the Class members and did not disclose the presence (or risk) of these toxic
10   Heavy Metals on the labels of the Products.
11          32.     Defendant knew or should have known that Plaintiffs and the Class members would
12   rely upon the packages of the Products and intended for them to do so but failed to disclose the
13   presence (or risk) of Heavy Metals.
14          33.     Defendant knew or should have known that it owed consumers a duty of care to
15   adequately test for Heavy Metals in the Products, which it failed to do.
16          34.     Additionally, Defendant knew or should have been aware that a reasonable consumer
17   would consume the Products multiple times each day, and possibly multiple Products. This leads to
18   repeated exposure to the Heavy Metals.
19          35.     Defendant knew or should have known it could control the levels of Heavy Metals in
20   the Products by properly monitoring the ingredients for Heavy Metals and adjusting any formulation
21   to reduce or eliminate ingredients that contained or may contain higher levels of Heavy Metals.
22          36.     Prior to purchasing the Products, Plaintiffs and the Class members were exposed to,
23   saw, read, and understood Defendant’s labels, and relied upon them in purchasing the Products, but
24   Defendant failed to disclose the presence (or risk) of Heavy Metals.
25          37.     As a result of Defendant’s concealment of the fact that the Products contained toxic
26   Heavy Metals, Plaintiffs and the Class members reasonably believed that Defendant’s Products were
27   free from substances that would negatively affect children’s development as well as their own health.
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 1           38.    In reliance upon Defendant’s labels that contained omissions, Plaintiffs and the Class
 2   members purchased Defendant’s Products.
 3           39.    Had Plaintiffs and the Class members known the truth—i.e., that the Products
 4   contained (or risked containing) toxic Heavy Metals, rendering them unsafe for consumption by
 5   children and adults—they would not have been willing to purchase them or would have paid less for
 6   them.
 7           40.    Therefore, as a direct and proximate result of Defendant’s omissions concerning the
 8   Products, Plaintiffs and the Class members purchased the Products.
 9           41.    Plaintiffs and the Class members were harmed in the form of the monies they paid for
10   the Products which they would not otherwise have paid had they known the truth about the Products.
11   Since the presence (or risk) of toxic Heavy Metals in herbs and spices renders them unsafe for human
12   consumption, the Products that Plaintiffs and the Class members purchased are worthless or are
13   worth less than Plaintiffs and the Class paid for them.
14           42.    Defendant’s label omissions at issue in this Complaint are put in context by its
15   rebranding efforts which have emphasized trust at nearly every point of interaction with consumers,
16   including its logo, tag line, website, and commercials amongst others.
17           43.    For example, Defendant’s CEO, Doug McMillon, stated that “a differentiating
18   characteristic of our company will be that we still care about people, and they know it.”22
19           44.    To do so, Defendant engaged the marketing agency, Lippincott, to rebrand. As
20   Lippincott notes, “How do you pivot the world’s largest retailer to speak to a newly expanded
21   consumer base, a new shopping experience, a new merchandise mix and a new level of confidence
22   from its 1.5 million employees? It requires a solid belief system that an internal culture will
23   passionately rally behind, and it extends to a vibrant makeover that inspires everyone who walks
24   through its doors.”23
25
     22
26      Eric Pandey, “Walmart is rebranding itself as the most trusted company in America as Amazon
     increasingly becomes a villain,” Business Insider (Feb. 14, 2019),
27   https://www.businessinsider.com/walmart-is-rebranding-itself-as-the-most-trusted-company-in-
     america-as-amazon-increasingly-becomes-a-villain-2019-2 (last accessed June 22, 2022).
     23
28      Lippincott, “Walmart,” https://lippincott.com/work/walmart/ (last accessed June 22, 2022).


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 1          45.     As a part of this effort, Defendant altered its logo. According to the marketing agency,
 2   DesignRush, Defendant’s new logo “makes Walmart appear like a brand you can trust, a brand that
 3   you want to trust and want to have on your side.”24
 4          46.     Lippincott states that this was a part of the purpose in also redesigning the tag line to
 5   “‘Save money. Live better,’ which resonates with legacy Walmart shoppers but also with new
 6   customer segments who see value as an enabler to a better, less compromised life. Together, logo
 7   and tagline complete the simple but powerful value calculus of the newly enlivened brand.”25
 8          47.     In fact, so important is Defendant’s tagline, “Save Money.            Live Better,” to
 9   Defendant’s business, that it has gone as far as to trademark that phrase.26
10          48.     And this rebranding effort has led to growth in sales for Defendant as it has worked
11   to capture new consumer segments. Lippincott stated that “[a]s a result, Walmart’s performance on
12   key brand attributes continues to improve” as “the company maintained traffic from core customers
13   while growing traffic by approximately 7 percent from customers with incomes above $75,000—an
14   underreported customer segment for Walmart prior to the brand revitalization.”27
15          49.     These efforts have extended to Defendant’s website where it further underscores its
16   commitment to the consumer’s well-being, noting, for example, that “[w]e take our responsibility as
17   one of the world’s largest grocers and retailers seriously. Our customers expect that the food and
18   products they buy from us are safe. To earn their trust, we must source, transport, prepare, and sell
19   safe and compliant food and merchandise. We have high internal standards, and we expect the same
20   of our suppliers.”28
21          50.     Defendant further claims on its website that “Our commitment to ethics and integrity
22

23   24
        DesignRush, “Walmart’s Modern Logo Adds Trust and Friendliness To The Major Retailer
24   Through Welcoming Shapes and Colors,” https://www.designrush.com/best-designs/logo/walmart
     (last accessed June 22, 2022).
     25
25      Id.
     26
        Justia Trademarks, “Save Money. Live Better,” https://trademarks.justia.com/859/49/save-
26   money-live-85949496.html (last accessed June 22, 2022).
     27
        Id.
     28
27      Walmart, “Build Trust with Our Customers,”
     https://www.walmartethics.com/content/walmartethics/en_us/faqs/our-customers/sell-safe-food-
28   and-products.html (last accessed June 22, 2022).


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 1   is reflected in our actions [including] [e]nsuring the food and products we sell are safe[.]”29
 2             51.    Defendant also states on its website that “[t]o ensure the integrity of our products, we
 3   have developed and deployed a long-standing Quality Assurance Program to manage and control our
 4   global supply chain” and that “[w]e conduct millions of product analyses each year by testing for
 5   contaminants . . . and more to ensure the safety and quality of our products.”30
 6             52.    Defendant has also worked to inspire trust and confidence from consumers in its
 7   commercials. In one commercial, for instance, Defendant asks: “can a company help you live a
 8   better life? We’re not talking about just any company. We’re talking about the one in your
 9   neighborhood . . . with almost two million people to help you live a better life everyday, we see your
10   hopes and fears, your dreams and doubts. It’s why we show up day after day: to get you what you
11   need, when you need it, to keep you healthy and safe, and to put a better meal on the table.”
12   Defendant makes these statements next to the following photograph of a family passing around a
13   dinner plate:
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24             53.    Defendant also highlighted this fact to shareholders, noting that “Our strategy is to
25   make every day easier for busy families . . . and make trust a competitive advantage” and that “At
26   every level of our Company, we work to create a culture that inspires trust among our . . .
27   29
          Walmart, “Purpose,” https://corporate.walmart.com/purpose (last accessed June 22, 2022).
     30
28        Id.


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 1   customers.”31
 2          54.      Defendant further notes on its website that “[t]hrough our Great Value brands . . . we
 3   are delivering on our promise to provide customers with the quality products they need and want at
 4   a price they can afford to help them save money and live better.”32
 5          55.      And this effort has not been without consequence, as Defendant notes, “our largest
 6   brand Great Value does more than $27 billion a year globally.”33
 7          56.      Thus, when consumers, like Plaintiffs, interact with Defendant’s         packaging—
 8   examples of which are set out below—they expect it to embody Defendant’s brand, which as noted
 9   above, has continuously emphasized that it is worthy of consumers’ trust because it places their
10   health and safety at the fore.
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23      Walmart, Form 10-K,
     https://www.corporatereport.com/walmart/2022/ar/FY22_Walmart_Form_10-K.pdf (last accessed
24   June 22, 2022).
     32
        Walmart, ‘Walmart’s Revamped Brand Great Value Brand Delivers Affordably Quality Choices
25   When Consumers Need Them Most,”
     https://corporate.walmart.com/newsroom/2009/03/15/walmarts-revamped-great-value-brand-
26   delivers-affordable-quality-choices-when-consumers-need-them-most (last accessed June 22,
     2022).
     33
27      Dan Ochwat, “Walmart’s Great Value brand earns more than $27 billion annually,” Storebrands
     (Feb. 18, 2020), https://storebrands.com/walmarts-great-value-brand-earns-more-27-billion-
28   annually (last accessed June 22, 2022).


     CLASS ACTION COMPLAINT                                                                             12
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 1          57.      The foregoing statements on Defendant’s website and other materials demonstrate
 2   that Defendant knows that reasonable consumers consider it important that the Products are safe and
 3   free from toxins such as the Heavy Metals.
 4          58.      Based on Defendant’s decision to tout the Products as trustworthy as well as the fact
 5   that the existence of Heavy Metals pertains to matters of safety, Defendant had a duty to tell the full
 6   truth about the presence (or risk) of Heavy Metals.
 7          59.      The Products’ labels are materially deceptive, false and misleading given Defendant’s
 8   omission about the presence (or risk) of Heavy Metals as described above.
 9                                     FED. R. CIV. P. 9(b) ALLEGATIONS
10          60.      Rule 9(b) of the Federal Rules of Civil Procedure provides that “[i]n alleging fraud or
11   mistake, a party must state with particularity the circumstances constituting fraud or mistake.” To
12   the extent necessary, as detailed in the paragraphs above and below, Plaintiffs have satisfied the
13   requirements of Rule 9(b) by establishing the following elements with sufficient particularity.
14          61.      WHO: Defendant made material omissions of fact in its packaging of the Products
15   by omitting the presence (or risk) of Heavy Metals.
16          62.      WHAT: Defendant’s conduct was and continues to be fraudulent and deceptive
17   because it has the effect of deceiving consumers into believing that the Products do not contain (or
18   risk containing) Heavy Metals. Defendant omitted from Plaintiffs and Class members that the
19   Products contain (or risk containing) Heavy Metals. Defendant knew or should have known this
20   information is material to all reasonable consumers and impacts consumers’ purchasing decisions.
21   Yet, Defendant has omitted from the Products’ labeling the fact that they contain (or risk containing)
22   Heavy Metals.
23          63.      WHEN: Defendant omitted from the Products’ labeling the fact that the Products
24   contain (or risk containing) Heavy Metals, continuously throughout the applicable relevant periods,
25   including at the point of sale.
26          64.      WHERE: Defendant’s omissions were made on the front labeling and packaging of
27   the Products and were thus viewed by every purchaser, including Plaintiffs, at the point of sale in
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     CLASS ACTION COMPLAINT                                                                              13
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 1   every transaction. The Products are sold in brick-and-mortar stores and online stores nationwide.
 2          65.     HOW: Defendant omitted from the Products’ labeling the fact that they contain (or
 3   risk containing) Heavy Metals. And as discussed in detail throughout this Complaint, Plaintiffs and
 4   Class members read and relied on Defendant’s front-label omissions before purchasing the Products.
 5          66.     WHY: Defendant omitted from the Products’ labeling the fact that they contain (or
 6   risk containing) Heavy Metals for the express purpose of inducing Plaintiffs and Class members to
 7   purchase the Products at a substantial price premium or more than they would have paid had they
 8   known the truth about the Products. As such, Defendant profited by selling the Products to at least
 9   thousands of consumers throughout the nation, including Plaintiffs and the Class members.
10                                   CLASS ACTION ALLEGATIONS
11          67.     Plaintiffs bring this action individually and on behalf of all other persons similarly
12   situated pursuant to Federal Rule of Civil Procedure 23. The class definition(s) may depend on the
13   information obtained throughout discovery. Notwithstanding, at this time, Plaintiffs bring this action
14   and seek certification of the following proposed classes (collectively, the Classes):
15
                      Class: All persons within the United States who purchased the
16                    Products from the beginning of any applicable limitations period
                      through the date of judgment.
17          68.     Plaintiffs also bring this action on behalf of the following State Subclass:
18
                      California Subclass: All persons who purchased the Products in
19                    the State of California from the beginning of any applicable
                      limitations period through the date of judgment. [The Class and
20                    California Subclass are collectively referred to as the “Classes.”]
            69.     Excluded from the proposed Classes are the Defendant, and any entities in which the
21
     Defendant has controlling interest, the Defendant’s agents, employees and its legal representatives,
22
     any Judge to whom this action is assigned and any member of such Judge’s staff and immediate
23
     family, and all resellers of the Products.
24
            70.     Plaintiffs reserve the right to amend the definition of the Classes if discovery or
25
     further investigation reveals that the Classes should be expanded or otherwise modified.
26
            71.     Plaintiffs further reserve the right to amend the above class definition as appropriate
27
     after further investigation and discovery, including by seeking to certify a narrower multi-state class
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     CLASS ACTION COMPLAINT                                                                              14
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 1   (or classes) in lieu of a nationwide class if appropriate.
 2          72.      Numerosity – Federal Rule of Civil Procedure 23(a)(1). At this time, Plaintiffs do
 3   not know the exact number of members of the Classes; however, given the nature of the claims and
 4   the number of retail stores in the United States selling the Products, Plaintiffs believe that the Class
 5   members are so numerous that joinder of all members is impracticable. While the exact number of
 6   Class members remains unknown at this time, upon information and belief, there are thousands, if
 7   not hundreds of thousands, of putative Class members. Moreover, the number of members of the
 8   Classes may be ascertained from Defendant’s books and records. Class members may be notified of
 9   the pendency of this action by mail and/or electronic mail or other appropriate digital means, which
10   can be supplemented if deemed necessary or appropriate by the Court with published notice.
11          73.      Predominance of Common Questions of Law and Fact – Federal Rule of Civil
12   Procedure 23(a)(2) and 23(b)(3). There is a well-defined community of interest in the questions of
13   law and fact involved in this case. Questions of law and fact common to the members of the Classes
14   that predominate over questions that may affect individual Class members include:
15                a. whether the Products contain toxic Heavy Metals;
16                b. whether Defendant’s conduct is unethical, oppressive, unscrupulous, and/or
17                   substantially injurious to consumers;
18                c. whether the amount of toxic Heavy Metals in the Products is material to a reasonable
19                   consumer;
20                d. whether Defendant had a duty to disclose that its Products had toxic Heavy Metals;
21                e. whether Plaintiff and members of the Classes are entitled to injunctive and other
22                   equitable relief;
23                f. whether Defendant failed to disclose material facts concerning the Products;
24                g. whether Defendant’s conduct was unfair and/or deceptive;
25                h. whether Defendant has been unjustly enriched as a result of the unlawful, fraudulent,
26                   and unfair conduct alleged in this Complaint such that it would be inequitable for
27

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     CLASS ACTION COMPLAINT                                                                               15
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 1                    Defendant to retain the benefits conferred upon Defendant by Plaintiffs and the Class
 2                    members;
 3                i. whether Defendant breached implied warranties to Plaintiffs and the Class members;
 4                j. whether Defendant violated California consumer protection and deceptive practice
 5                    statutes and are entitled to restitution and/or damages under such state statutes; and
 6                k. whether Plaintiffs and the Class members have sustained damages with respect to the
 7                    common-law claims asserted, and if so, the proper measure of their damages.
 8          74.       Typicality – Federal Rule of Civil Procedure 23(a)(3). Plaintiffs’ claims are typical
 9   of those of the Class members because Plaintiffs, like other Class members, purchased, in a typical
10   consumer setting, the Products and Plaintiffs sustained damages from Defendant’s wrongful conduct.
11          75.       Adequacy – Federal Rule of Civil Procedure 23(a)(4). Plaintiffs will fairly and
12   adequately protect the interests of the Class members and have retained counsel that is experienced
13   in litigating complex class actions. Plaintiffs have no interests which conflict with those of the
14   Classes.
15          76.       Insufficiency of Separate Actions – Federal Rule of Civil Procedure 23(b)(1).
16   Absent a class action, Plaintiffs and members of the Classes will continue to suffer the harm
17   described herein, for which they would have no remedy. Even if separate actions could be brought
18   by individual consumers, the resulting multiplicity of lawsuits would cause undue burden and
19   expense for both the Court and the litigants, as well as create a risk of inconsistent rulings and
20   adjudications that might be dispositive of the interests of similarly situated consumers, substantially
21   impeding their ability to protect their interests, while establishing incompatible standards of conduct
22   for Defendant.
23          77.       Declaratory and Injunctive Relief – Federal Rule of Civil Procedure 23(b)(2).
24   Defendant has acted or refused to act on grounds generally applicable to Plaintiffs and the other
25   members of the Classes, thereby making appropriate final injunctive relief and declaratory relief, as
26   described below, with respect to the members of the Classes as a whole. In particular, Plaintiffs seek
27   to certify the Classes to enjoin Defendant from selling or otherwise distributing the Products until
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     CLASS ACTION COMPLAINT                                                                                16
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 1   such time that Defendant can demonstrate to the Court’s satisfaction that the Products are accurately
 2   labeled. The prerequisites to maintaining a class action for equitable relief are met as Defendant has
 3   acted or refused to act on grounds generally applicable to the Classes, thereby making appropriate
 4   equitable relief with respect to the Classes as a whole.
 5          78.      Superiority – Federal Rule of Civil Procedure 23(b)(3). A class action is superior
 6   to any other available methods for the fair and efficient adjudication of the present controversy for
 7   at least the following reasons:
 8                a. The damages suffered by each individual members of the putative Classes do not
 9                   justify the burden and expense of individual prosecution of the complex and extensive
10                   litigation necessitated by Defendant’s conduct;
11                b. Even if individual members of the Classes had the resources to pursue individual
12                   litigation, it would be unduly burdensome to the courts in which the individual
13                   litigation would proceed;
14                c. The claims presented in this case predominate over any questions of law or fact
15                   affecting individual members of the Classes;
16                d. Individual joinder of all members of the Classes is impracticable;
17                e. Absent a Class, Plaintiffs and members of the putative Classes will continue to suffer
18                   harm as a result of Defendant’s unlawful conduct; and
19                f. This action presents no difficulty that would impede its management by the Court as
20                   a class action, which is the best available means by which Plaintiffs and members of
21                   the putative Classes can seek redress for the harm caused by Defendant.
22                g. In the alternative, the Classes may be certified for the following reasons:
23                        i.   The prosecution of separate actions by individual members of the Classes
24                             would create a risk of inconsistent or varying adjudication with respect to
25                             individual members of the Classes, which would establish incompatible
26                             standards of conduct for Defendant;
27

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     CLASS ACTION COMPLAINT                                                                             17
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 1                       ii.   Adjudications of claims of the individual members of the Classes against
 2                             Defendant would, as a practical matter, be dispositive of the interests of other
 3                             members of the putative Classes who are not parties to the adjudication and
 4                             may substantially impair or impede the ability of other putative Class
 5                             members to protect their interests; and
 6                      iii.   Defendant has acted or refused to act on grounds generally applicable to the
 7                             members of the putative Classes, thereby making appropriate final and
 8                             injunctive relief with respect to the putative Classes as a whole.
 9                                           CAUSES OF ACTION
10                                            FIRST COUNT
                              California’s Unfair Competition Law (“UCL”)
11
                    Violation of California Business & Professions Code § 17200 et seq.,
12                                Based on Fraudulent Acts and Practices

13           79.     Plaintiffs incorporate by reference the foregoing paragraphs of this Complaint as if

14   fully stated herein.

15           80.     Plaintiffs bring this claim individually and on behalf of the California Subclass

16   members.

17           81.     Under California Business & Professions Code §17200, any business act or practice

18   that is likely to deceive members of the public constitutes a fraudulent business act or practice.

19           82.     Defendant has engaged, and continues to engage, in conduct that is likely to deceive

20   members of the public. This conduct includes but is not limited to its failure to disclose that the

21   Products contain (or risk containing) toxic Heavy Metals.

22           83.     After reviewing the packaging for the Products, Plaintiffs purchased the Products in

23   reliance on Defendant’s omissions. Plaintiffs would not have purchased the Products at all or would

24   have paid less for them if they had known of Defendant’s omissions regarding that the Products

25   contain (or risk containing) toxic Heavy Metals. Plaintiffs and the California Subclass members have

26   all paid money for the Products. However, Plaintiffs and the California Subclass members did not

27   obtain the full value or any value of the advertised products due to Defendant’s omissions regarding

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     CLASS ACTION COMPLAINT                                                                                 18
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 1   the toxic Heavy Metals. Accordingly, Plaintiffs and the California Subclass members have suffered
 2   injury in fact and lost money or property as a direct result of Defendant’s omissions.
 3               84.   By committing the acts alleged above, Defendant has engaged in fraudulent business
 4   acts and practices, which constitute unfair competition within the meaning of California Business &
 5   Professions Code §17200.
 6               85.   In accordance with California Business & Professions Code §17203, Plaintiffs seek
 7   an order: (1) enjoining Defendant from continuing to conduct business through its fraudulent conduct;
 8   and (2) requiring Defendant to conduct a corrective advertising campaign.
 9               86.   As a result of Defendant’s conduct, Plaintiffs seek restitution, disgorgement, and
10   injunctive relief under California Business & Professions Code §17203.
11               87.   Here, equitable relief is appropriate because Plaintiffs may lack an adequate remedy
12   at law if, for instance, damages resulting from their purchase of the Product is determined to be an
13   amount less than the premium price of the Product. Without compensation for the full premium price
14   of the Product, Plaintiffs would be left without the parity in purchasing power to which they are
15   entitled.
16               88.   Injunctive relief is also appropriate, and indeed necessary, to require Defendant to
17   provide full and accurate disclosures regarding the Product so that Plaintiffs and California Subclass
18   members can reasonably rely on Defendant’s packaging as well as those of Defendant’s competitors
19   who may then have an incentive to follow Defendant’s deceptive practices, further misleading
20   consumers.
21               89.   Restitution and/or injunctive relief may also be more certain, prompt, and efficient
22   than other legal remedies requested herein. The return of the full premium price, and an injunction
23   requiring either (1) adequate disclosures of the existence of Heavy Metals in the Products; or (2) the
24   removal of such Heavy Metals from the Products, will ensure that Plaintiffs are in the same place they
25   would have been in had Defendant’s wrongful conduct not occurred, i.e., in the position to make an
26   informed decision about the purchase of the Products absent omissions with the full purchase price at
27   their disposal.
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      CLASS ACTION COMPLAINT                                                                            19
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 1                                          SECOND COUNT
 2                           California’s Unfair Competition Law (“UCL”)
                   Violation of California Business & Professions Code § 17200 et seq.,
 3                                Based on Unlawful Acts and Practices
             90.     Plaintiffs incorporate by reference the foregoing paragraphs of this Complaint as if
 4
     fully stated herein.
 5
             91.     Plaintiffs bring this claim individually and on behalf of the California Subclass
 6
     members.
 7
             92.     The violation of any law constitutes an unlawful business practice under California
 8
     Business & Professions Code §17200.
 9
             93.     Defendant has violated §17200’s prohibition against engaging in unlawful acts and
10
     practices by, inter alia, making omissions of material facts, as set forth more fully herein, and
11
     violating Cal. Civ. Code § 1750 et seq., and by violating the Song-Beverly Act.
12
             94.     By violating these laws, Defendant has engaged in unlawful business acts and
13
     practices, which constitute unfair competition within the meaning of Business & Professions Code
14
     §17200.
15
             95.     Plaintiffs purchased the Products in reliance on Defendant’s omissions as to the toxic
16
     Heavy Metals contained therein (or the risk of same). Plaintiffs would not have purchased the
17
     Products at all or would have paid less for them had they known of Defendant’s omissions. Plaintiffs
18
     and the California Subclass members paid money for the Products. However, Plaintiffs and the
19
     California Subclass members did not obtain the full value, or any value, of the advertised products
20
     due to Defendant’s omissions regarding the Products. Accordingly, Plaintiffs and the California
21
     Subclass members have suffered injury in fact and lost money or property as a direct result of
22
     Defendant’s omissions.
23
             96.     In accordance with California Business & Professions Code §17203, Plaintiffs seek
24
     an order: (1) enjoining Defendant from continuing to conduct business through its fraudulent
25
     conduct; and (2) requiring Defendant to conduct a corrective advertising campaign.
26
             97.     As a result of Defendant’s conduct, Plaintiffs seek restitution, disgorgement, and
27
     injunctive relief under California Business & Professions Code §17203.
28

     CLASS ACTION COMPLAINT                                                                             20
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 1               98.     Here, equitable relief is appropriate because Plaintiffs may lack an adequate remedy
 2   at law if, for instance, damages resulting from their purchase of the Product is determined to be an
 3   amount less than the premium price of the Product. Without compensation for the full premium price
 4   of the Product, Plaintiffs would be left without the parity in purchasing power to which they are
 5   entitled.
 6               99.     Injunctive relief is also appropriate, and indeed necessary, to require Defendant to
 7   provide full and accurate disclosures regarding the Product so that Plaintiffs and California Subclass
 8   members can reasonably rely on Defendant’s packaging as well as those of Defendant’s competitors
 9   who may then have an incentive to follow Defendant’s deceptive practices, further misleading
10   consumers.
11               100.    Restitution and/or injunctive relief may also be more certain, prompt, and efficient
12   than other legal remedies requested herein. The return of the full premium price, and an injunction
13   requiring either (1) adequate disclosures of the existence of Heavy Metals in the Products; or (2) the
14   removal of such Heavy Metals from the Products, will ensure that Plaintiffs are in the same place they
15   would have been in had Defendant’s wrongful conduct not occurred, i.e., in the position to make an
16   informed decision about the purchase of the Products absent omissions with the full purchase price at
17   their disposal.
18                                               THIRD COUNT
19                                California’s Unfair Competition Law (“UCL”)
                        Violation of California Business & Professions Code § 17200 et seq.,
20                                      Based on Unfair Acts and Practices

21               101.    Plaintiffs incorporate by reference the foregoing paragraphs of this Complaint as if

22    fully stated herein.

23               102.    Plaintiffs bring this claim individually and on behalf of the California Subclass

24   members.

25               103.    Under Business & Professions Code §17200, any business act or practice that is

26    unethical, oppressive, unscrupulous, and/or substantially injurious to consumers, or that violates a

27    legislatively declared policy, constitutes an unfair business act or practice.

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      CLASS ACTION COMPLAINT                                                                              21
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 1          104.    Defendant has engaged, and continues to engage, in conduct which is immoral,
 2   unethical, oppressive, unscrupulous, and/or substantially injurious to consumers. This conduct
 3   includes its failure to disclose that the Products contain (or risk containing) toxic Heavy Metals.
 4          105.    Defendant has engaged, and continues to engage, in conduct that violates the
 5   legislatively declared policies of: (1) California Civil Code §§1572, 1573, 1709, 1710, 1711 against
 6   committing fraud and deceit; and (2) California Civil Code §1750 against committing acts and
 7   practices intended to deceive consumers regarding the representation of goods in certain particulars.
 8   Defendant gained an unfair advantage over its competitors, whose labeling, advertising, and
 9   marketing for other similar products must comply with these laws.
10          106.    Defendant’s conduct is substantially injurious to consumers. Such conduct has
11   caused, and continues to cause, substantial injury to consumers because consumers would not have
12   purchased the Products at all or would have paid less for them but for Defendant’s omissions
13   regarding the presence (or risk) of toxic Heavy Metals in the Products. Such injury is not outweighed
14   by any countervailing benefits to consumers or competition. Indeed, no benefit to consumers or
15   competition results from Defendant’s conduct. Since consumers reasonably rely on Defendant’s
16   labels, and thus also its omissions, consumers could not have reasonably avoided such injury. Davis
17   v. Ford Motor Credit Co., 179 Cal. App. 4th 581, 597-98 (2009); see also Drum v. San Fernando
18   Valley Bar Ass’n, 182 Cal. App. 4th 247, 257 (2010) (outlining the third test based on the definition
19   of “unfair” in Section 5 of the FTC Act).
20          107.    By committing the acts alleged above, Defendant has engaged in unfair business acts
21   and practices which constitute unfair competition within the meaning of Business & Professions
22   Code §17200.
23          108.    Plaintiffs purchased the Products based on Defendant’s labels, which omitted the
24   presence (or risk) of toxic Heavy Metals in the Products. Plaintiffs would not have purchased the
25   Products at all or would have paid less for them but for Defendant failing to disclose that they
26   contained (or risked containing) toxic Heavy Metals. Plaintiffs and the California Subclass members
27   paid money for the Products. However, Plaintiffs and the California Subclass members did not
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     CLASS ACTION COMPLAINT                                                                                22
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 1    obtain the full value or any value of the Products due to Defendant’s omissions regarding the nature
 2    of said Products. Accordingly, Plaintiffs and the California Subclass members suffered an injury in
 3    fact and lost money or property as a direct result of Defendant’s material omissions.
 4               109.   Because Defendant’s conduct is ongoing, Plaintiffs seek an order enjoining Defendant
 5    from continuing to conduct business through its fraudulent conduct and further seek an order
 6    requiring Defendant to conduct a corrective advertising campaign in accordance with California
 7    Business & Professions Code §17203.
 8               110.   As a result of Defendant’s conduct, Plaintiffs seek restitution, disgorgement, and
 9    injunctive relief under California Business & Professions Code §17203.
10               111.   Here, equitable relief is appropriate because Plaintiffs may lack an adequate remedy
11   at law if, for instance, damages resulting from their purchase of the Product is determined to be an
12   amount less than the premium price of the Product. Without compensation for the full premium price
13   of the Product, Plaintiffs would be left without the parity in purchasing power to which they are
14   entitled.
15               112.   Injunctive relief is also appropriate, and indeed necessary, to require Defendant to
16   provide full and accurate disclosures regarding the Product so that Plaintiffs and Class members can
17   reasonably rely on Defendant’s packaging as well as those of Defendant’s competitors who may then
18   have an incentive to follow Defendant’s deceptive practices, further misleading consumers.
19               113.   Restitution and/or injunctive relief may also be more certain, prompt, and efficient
20   than other legal remedies requested herein. The return of the full premium price, and an injunction
21   requiring either (1) adequate disclosures of the existence of Heavy Metals in the Products; or (2) the
22   removal of such Heavy Metals from the Products, will ensure that Plaintiffs are in the same place they
23   would have been in had Defendant’s wrongful conduct not occurred, i.e., in the position to make an
24   informed decision about the purchase of the Products absent omissions with the full purchase price at
25   their disposal.
26                                             FOURTH COUNT
27                       (Violation of California’s False Advertising Law, California Business
                                         & Professions Code §§ 17500, et seq.,)
28

      CLASS ACTION COMPLAINT                                                                             23
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 1               114.   Plaintiffs incorporate by reference the foregoing paragraphs of this Complaint as if
 2    fully stated herein.
 3               115.   California’s False Advertising Law prohibits any statement in connection with the
 4    sale of goods “which is untrue or misleading.” Cal. Bus. & Prof. Code § 17500.
 5               116.   As set forth herein, the Plaintiffs purchased the Products based on Defendant’s labels,
 6    which constituted advertising and which omitted the presence (or risk) of toxic Heavy Metals in the
 7    Products.
 8               117.   Plaintiffs would not have purchased the Products at all or would have paid less for
 9    them but for Defendant failure to disclose that they contained (or risked containing) toxic Heavy
10    Metals.
11               118.   Plaintiffs and the California Subclass paid money for the Products. However, they
12    did not obtain the full value or any value of the Products due to Defendant’s omissions regarding the
13    nature of the Products. Accordingly, Plaintiffs and the California Subclass members suffered an
14    injury in fact and lost money or property as a direct result of Defendant’s omissions.
15               119.   Defendant’s conduct is ongoing and continuing, such that prospective injunctive relief
16    is necessary, especially given Plaintiffs’ desire to purchase these Products in the future and hope to
17    rely on Defendant’s marketing and packaging.
18               120.   Plaintiffs and members of the California Subclass are entitled to injunctive and
19    equitable relief, and restitution in the amount they spent on the Products.
20               121.   Here, equitable relief is appropriate because Plaintiffs may lack an adequate remedy
21   at law if, for instance, damages resulting from their purchase of the Product is determined to be an
22   amount less than the premium price of the Product. Without compensation for the full premium price
23   of the Product, Plaintiffs would be left without the parity in purchasing power to which they are
24   entitled.
25               122.   Injunctive relief is also appropriate, and indeed necessary, to require Defendant to
26   provide full and accurate disclosures regarding the Product so that Plaintiffs and Class members can
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      CLASS ACTION COMPLAINT                                                                                24
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 1   reasonably rely on Defendant’s packaging as well as those of Defendant’s competitors who may then
 2   have an incentive to follow Defendant’s deceptive practices, further misleading consumers.
 3            123.     Restitution and/or injunctive relief may also be more certain, prompt, and efficient
 4   than other legal remedies requested herein. The return of the full premium price, and an injunction
 5   requiring either (1) adequate disclosures of the existence of Heavy Metals in the Products; or (2) the
 6   removal of such Heavy Metals from the Products, will ensure that Plaintiffs are in the same place they
 7   would have been in had Defendant’s wrongful conduct not occurred, i.e., in the position to make an
 8   informed decision about the purchase of the Products absent omissions with the full purchase price at
 9   their disposal.
10                                               FIFTH COUNT
                                   California’s Consumer Legal Remedies Act
11                                  Cal. Civ. Code § 1750 et seq. (“CLRA”)
12            124.     Plaintiffs incorporate by reference the foregoing paragraphs of this Complaint as if
13    fully stated herein.
14            125.     Plaintiffs bring this claim individually and on behalf of the California Subclass
15   members.
16            126.     Plaintiffs purchased Defendant’s Products for household use.
17            127.     The acts and practices of Defendant as described above were intended to deceive
18    Plaintiffs and the California Subclass members as described herein, and have resulted, and will result,
19    in damages to Plaintiffs and members of the California Subclass. These actions violated, and
20    continue to violate, the California Consumers Legal Remedies Act (“CLRA”) in at least the
21    following respects:
22                a. In violation of California Civil Code §1770(a)(5) of the CLRA, Defendant’s acts and
23                     practices constitute omissions that the Products have characteristics, uses, and/or
24                     benefits, which they do not;
25                b. in violation of California Civil Code §1770(a)(7) of the CLRA, Defendant’s acts and
26                     practices constitute omissions that the Products are of a particular quality, which they
27                     are not; and
28

      CLASS ACTION COMPLAINT                                                                                25
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 1                  c. in violation of California Civil Code §1770(a)(9) of the CLRA, Defendant’s acts and
 2                      practices constitute the advertisement of the goods in question without the intent to
 3                      sell them as advertised.
 4               128.   By committing the acts alleged above, Defendant has violated the CLRA.
 5               129.   Plaintiffs and the California Subclass members suffered injuries caused by
 6    Defendant’s omissions because they were induced to purchase the Products they would not have
 7    otherwise purchased or would have paid less for if they had known that they contained (or risked
 8    containing) toxic Heavy Metals.
 9               130.   In compliance with the provisions of California Civil Code §1782, Plaintiffs’ counsel
10    sent written notice to Defendant on January 8, 2022, informing Defendant of their intention to seek
11    damages under California Civil Code §1750, et seq. The letter stated that it was sent on behalf of all
12    other persons similarly situated. Accordingly, Plaintiffs seek damages from Defendant for its
13    violations of the CLRA. Defendant has failed to respond to or remedy the issues raised in the notice
14    letterregarding the Products.
15               131.   Plaintiffs and the California Subclass members are also entitled to, pursuant to
16    California Civil Code §1780, an order enjoining the above-described wrongful acts and practices of
17    Defendant, and any other relief deemed appropriate and proper by the Court under California Civil
18    Code §1780.
19               132.   Here, equitable relief is appropriate because Plaintiffs may lack an adequate remedy
20   at law if, for instance, damages resulting from their purchase of the Product is determined to be an
21   amount less than the premium price of the Product. Without compensation for the full premium price
22   of the Product, Plaintiffs would be left without the parity in purchasing power to which they are
23   entitled.
24               133.   Injunctive relief is also appropriate, and indeed necessary, to require Defendant to
25   provide full and accurate disclosures regarding the Product so that Plaintiffs and Class members can
26   reasonably rely on Defendant’s packaging as well as those of Defendant’s competitors who may then
27   have an incentive to follow Defendant’s deceptive practices, further misleading consumers.
28

      CLASS ACTION COMPLAINT                                                                              26
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 1            134.     Restitution and/or injunctive relief may also be more certain, prompt, and efficient
 2   than other legal remedies requested herein. The return of the full premium price, and an injunction
 3   requiring either (1) adequate disclosures of the existence of Heavy Metals in the Products; or (2) the
 4   removal of such Heavy Metals from the Products, will ensure that Plaintiffs are in the same place they
 5   would have been in had Defendant’s wrongful conduct not occurred, i.e., in the position to make an
 6   informed decision about the purchase of the Products absent omissions with the full purchase price at
 7   their disposal.
 8                                              SIXTH COUNT
                             Breach of Implied Warranty Under the Song-Beverly Act
 9
                                          Cal. Civ. Code § 1790 et seq.
10            135.     Plaintiffs incorporate by reference the foregoing paragraphs of this Complaint as if
11    fully stated herein.
12            136.     Plaintiffs bring this claim individually and on behalf of the members of the proposed
13    California Subclass against Defendant.
14            137.     Under the Song-Beverly Consumer Warranty Act, Cal. Civ. Code § 1790, et seq.,
15    every sale of consumer goods in this State is accompanied by both a manufacturer’s and retail seller’s
16    implied warranty that the goods are merchantable, as defined in that Act. In addition, every sale of
17    consumer goods in this State is accompanied by both a manufacturer’s and retail seller’s implied
18    warranty of fitness when the manufacturer or retailer has reason to know that the goods as represented
19    have a particular purpose and that the buyer is relying on the manufacturer’s or retailer’s skill or
20    judgment to furnish suitable goods consistent with that represented purpose.
21            138.     The Products at issue here are “consumer goods” within the meaning of Cal. Civ.
22    Code § 1791(a).
23            139.     Plaintiffs and the California Subclass members who purchased one or more of the
24    Products are “retail buyers” within the meaning of Cal. Civ. Code § 1791.
25            140.     Defendant is in the business of manufacturing, assembling, producing and/or selling
26    the Products to retail buyers, and therefore is a “manufacturer” and “seller” within the meaning of
27    Cal. Civ. Code § 1791.
28

      CLASS ACTION COMPLAINT                                                                             27
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 1           141.    Defendant impliedly warranted to retail buyers that the Products were merchantable
 2   in that they: (a) would pass without objection in the trade or industry under the contract description,
 3   and (b) were fit for the ordinary purposes for which the Products are used. For a consumer good to
 4   be “merchantable” under the Act, it must satisfy both of these elements. Defendant breached these
 5   implied warranties because the Products were unsafe and contained (or risked containing) toxic
 6   Heavy Metals. Therefore, the Products would not pass without objection in the trade or industry and
 7   were not fit for the ordinary purpose for which they are used, which is consumption by consumers.
 8           142.    Plaintiffs and the California Subclass members purchased the Products in reliance
 9   upon Defendant’s skill and judgment in properly packaging and labeling the Products.
10           143.    The Products were not altered by Plaintiffs or the California Subclass members.
11           144.    Defendant knew that the Products would be purchased and used without additional
12   testing by Plaintiffs and the California Subclass members.
13           145.    As a direct and proximate cause of Defendant’s breach of the implied warranty,
14   Plaintiffs and the California Subclass members have been injured and harmed because they would
15   not have purchased the Products or would have paid less for them if they knew the truth about the
16   Products, namely, that they contained (or risk containing) toxic Heavy Metals.
17
                                           SEVENTH COUNT
18                            Breach of Implied Warranty of Merchantability
19           146.    Plaintiffs incorporate by reference the foregoing paragraphs of this Complaint as if

20   fully stated herein.

21           147.    Plaintiffs bring this claim individually and on behalf of the members of the Class and,

22   in the alternative, the California Subclass against Defendant.

23           148.    Defendant is a merchant engaging in the sale of goods to Plaintiffs and the Classes.

24           149.    There was a sale of goods from Defendant to Plaintiffs and the Classes.

25           150.    As set forth herein, Defendant manufactured and sold the Products, and prior to the

26   time the Products were purchased by Plaintiffs and the members of the Classes, impliedly warranted

27

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     CLASS ACTION COMPLAINT                                                                              28
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 1   that the Products were of merchantable quality and fit for their ordinary use (consumption by
 2   consumers).
 3             151.   Defendant impliedly warranted to retail buyers that the Products were merchantable
 4   in that they: (a) would pass without objection in the trade or industry under the contract description,
 5   and (b) were fit for the ordinary purposes for which the Products are used. Defendant breached these
 6   implied warranties because the Products were unsafe and contained (or risked containing) toxic
 7   Heavy Metals. Therefore, the Products would not pass without objection in the trade or industry and
 8   were not fit for the ordinary purpose for which they are used, which is consumption by consumers.
 9             152.   Plaintiffs and the Class members purchased the Products in reliance upon Defendant’s
10   skill and judgment in properly packaging and labeling the Products.
11             153.   The Products were not altered by Plaintiffs or the Class members.
12             154.   Defendant knew that the Products would be purchased and used without additional
13   testing by Plaintiffs and the Class members.
14             155.   Defendant was on notice of this breach as it was aware of the inclusion (or risk) of
15   Heavy Metals in the Products, including based on the public investigation by Consumer Reports that
16   showed the Products contain Heavy Metals.
17             156.   As a direct and proximate cause of Defendant’s breach of the implied warranty,
18   Plaintiffs and the Class members have been injured and harmed because they would not have
19   purchased the Products or would have paid less for them if they knew the truth about the Products,
20   namely, that they contained (or risked containing) toxic Heavy Metals.
21             157.   On January 8, 2022, Plaintiffs’ counselprovided notice to Defendant, apprising
22   Defendant of its breach of warranties. This letter was sent on behalf of all “similarly situated
23   purchasers.” Defendant did not respond.
24             158.   Plaintiffs, on behalf of themselves and the members of the Classes, seek actual
25   damages for Defendant’s failure to deliver goods that conform to its implied warranties and resulting
26   breach.
27

28

     CLASS ACTION COMPLAINT                                                                              29
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 1                                            EIGHTH COUNT
                                                  Fraud
 2
             159.    Plaintiffs incorporate by reference the foregoing paragraphs of this Complaint as if
 3
     fully stated herein.
 4
             160.    Plaintiffs bring this claim individually and on behalf of the members of the Class and,
 5
     in the alternative, the California Subclass against Defendant.
 6
             161.    Rule 9(b) of the Federal Rules of Civil Procedure provides that “[i]n alleging fraud or
 7
     mistake, a party must state with particularity the circumstances constituting fraud or mistake.” To
 8
     the extent necessary, as detailed in the paragraphs above and below, Plaintiffs have satisfied the
 9
     requirements of Rule 9(b) by establishing the following elements with sufficient particularity:
10
                            a. WHO: Defendant made omissions of fact in its packaging of the Products
11
                               by omitting the presence (or risk) of Heavy Metals.
12
                            b. WHAT: Defendant’s conduct was and continues to be fraudulent and
13
                               deceptive because it has the effect of deceiving consumers into believing
14
                               that the Products do not contain (or risk containing) Heavy Metals.
15
                               Defendant omitted from Plaintiffs and Class members that the Products
16
                               contain (or risk containing) Heavy Metals. Defendant knew or should have
17
                               known this information is material to all reasonable consumers and impacts
18
                               consumers’ purchasing decisions. Yet, Defendant has omitted from the
19
                               Products’ labeling the fact that they contain (or risk containing) Heavy
20
                               Metals.
21
                            c. WHEN: Defendant made omissions detailed herein, including omitting that
22
                               the Products do contain (or risk containing) Heavy Metals, continuously
23
                               throughout the applicable relevant periods.
24
                            d. WHERE: Defendant’s omissions were made on the front labeling and
25
                               packaging of the Products and were thus viewed by every purchaser,
26
                               including Plaintiffs, at the point of sale in every transaction. The Products
27
                               are sold in brick-and-mortar stores and online stores nationwide.
28

     CLASS ACTION COMPLAINT                                                                              30
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 1                          e. HOW: Defendant omitted from the Products’ labeling the fact that they
 2                             contain (or risk containing) Heavy Metals. And as discussed in detail
 3                             throughout this Complaint, Plaintiffs and Class members read and relied on
 4                             Defendant’s front-label omissions before purchasing the Products.
 5                          f. WHY: Defendant omitted from the Products’ labeling the fact that they
 6                             contain (or risk containing) Heavy Metals for the express purpose of
 7                             inducing Plaintiffs and Class members to purchase the Products at a
 8                             substantial price premium or more than they would have paid had they
 9                             known the truth about the Products. As such, Defendant profited by selling
10                             the Products to at least thousands of consumers throughout the nation,
11                             including Plaintiffs and the Class members.
12           162.    As alleged herein, Defendant made these material omissions in order to induce
13   Plaintiffs and Class members to purchase the Products.
14           163.    As alleged in detail herein, Defendant knew the omissions regarding the Products
15   were false and misleading but nevertheless made such omissions on the Products’ labeling. In
16   reliance on these omissions, Plaintiffs and Class members were induced to, and did, pay monies to
17   purchase the Products.
18           164.    Had Plaintiffs and the Class members known the truth about the Products, they would
19   not have purchased them or would have paid less for them.
20           165.    As a proximate result of the fraudulent conduct of Defendant, Plaintiffs and Class
21   members paid monies to Defendant, through its regular retail sales channels, to which Defendant is
22   not entitled, and have been damaged in an amount to be proven at trial.
23                                             NINTH COUNT
                                              Unjust Enrichment
24
             166.    Plaintiffs incorporate by reference the foregoing paragraphs of this Complaint as if
25
     fully stated herein.
26
             167.    Plaintiffs bring this claim individually and on behalf of the members of the Class and,
27
     in the alternative, the California Subclass against Defendant either together or in the alternative to
28

     CLASS ACTION COMPLAINT                                                                              31
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 1    the legal claims asserted above.
 2               168.   Plaintiffs and the Class members conferred a benefit on Defendant in the form of the
 3    gross revenues Defendant derived from the money they paid to Defendant.
 4               169.   Defendant had an appreciation or knowledge of the benefit conferred on it by
 5    Plaintiffs and the Class members.
 6               170.   Defendant has been unjustly enriched in retaining the revenues derived from Plaintiffs
 7    and the Class members’ purchases of the Products, which retention of such revenues under these
 8    circumstances is unjust and inequitable because Defendant omitted that the Products contained (or
 9    risked containing) toxic Heavy Metals. This caused injuries to Plaintiffs and members of the Classes
10    because they would not have purchased the Products or would have paid less for them if the true
11    facts concerning the Products had been known.
12               171.   Defendant accepted and retained the benefit in the amount of the gross revenues it
13    derived from sales of the Products to Plaintiffs and the Class members.
14               172.   Defendant has thereby profited by retaining the benefit under circumstances which
15    would make it unjust for Defendant to retain the benefit.
16               173.   Plaintiffs and the Class members are, therefore, entitled to restitution in the form of
17    the revenues derived from Defendant’s sale of the Products.
18               174.   As a direct and proximate result of Defendant’s actions, Plaintiffs and Class members
19    have suffered in an amount to be proven at trial.
20               175.   Here, equitable relief is appropriate because Plaintiffs may lack an adequate remedy
21   at law if, for instance, damages resulting from their purchase of the Product is determined to be an
22   amount less than the premium price of the Product. Without compensation for the full premium price
23   of the Product, Plaintiffs would be left without the parity in purchasing power to which they are
24   entitled.
25               176.   Injunctive relief is also appropriate, and indeed necessary, to require Defendant to
26   provide full and accurate disclosures regarding the Product so that Plaintiffs and Class members can
27

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      CLASS ACTION COMPLAINT                                                                                32
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 1   reasonably rely on Defendant’s packaging as well as those of Defendant’s competitors who may then
 2   have an incentive to follow Defendant’s deceptive practices, further misleading consumers.
 3            177.    Restitution may also be more certain, prompt, and efficient than other legal remedies
 4   requested herein. The return of the full premium price will ensure that Plaintiffs are in the same place
 5   they would have been in had Defendant’s wrongful conduct not occurred, i.e., in the position to make
 6   an informed decision about the purchase of the Products absent omissions with the full purchase price
 7   at their disposal.
 8                                             TENTH COUNT
                                          (Negligent Failure to Warn)
 9
              178.    Plaintiffs incorporate by reference the foregoing paragraphs of this Complaint as if
10
      fully stated herein.
11
              179.    Plaintiffs bring this claim individually and on behalf of the Class and, in the
12
      alternative, the California Subclass.
13
              180.    At all relevant times, Defendant was responsible for manufacturing, inspecting,
14
      distributing, labeling, marketing, advertising, and/or selling the Products and its packaging. At all
15
      relevant times, it was reasonably foreseeable by Defendant that the use of the Products in their
16
      intended manner involved substantial risk of injury and was unreasonably dangerous to Plaintiffs
17
      and the Class members as the ultimate users of the Products.
18
              181.    At all relevant times, Defendant knew or had reason to know of the risk of injury and
19
      the resultant harm that the Products posed to Plaintiffs and the Class members, as the problems
20
      discussed throughout existed at the time of its manufacturing, inspection, distribution, labeling,
21
      marketing, advertising, and/or sale.
22
              182.    Defendant as the manufacturer, tester, distributor, marketer, advertiser, and/or seller
23
      of the Products had a duty to warn Plaintiffs and the Class members of all dangers associated with
24
      the intended use of the Products.
25
              183.    At a minimum, the duty arose for Defendant to warn consumers that the use of the
26
      Products was unreasonably dangerous.
27

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      CLASS ACTION COMPLAINT                                                                              33
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 1          184.    Defendant was negligent and breached its duty by negligently failing to provide
 2   warnings to consumers and users of the Products, including Plaintiffs and the Class members,
 3   regarding the true nature of the Products and their risks and potential dangers.
 4          185.    Defendant was negligent and breached its duty of care by concealing the risks of and
 5   failing to warn consumers that the Products contain Heavy Metals known to cause adverse health
 6   effects in humans.
 7          186.    Defendant knew, or through the exercise of reasonable care, should have known of
 8   the problems discussed and resulting dangers associated with consuming the Products, and knew that
 9   Plaintiffs and Class members could not reasonably be aware of those risks. Defendant failed to
10   exercise reasonable care in providing Plaintiffs and the Class members with adequate warnings.
11          187.    As a direct and proximate result of Defendant’s failure to adequately warn consumers
12   that the use of the Products, including their intended use, could cause and has caused injuries and
13   other damages, Plaintiffs and the Class members have suffered damages, as described herein.
14                                        PRAYER FOR RELIEF
15          WHEREFORE, Plaintiff respectfully request that the Court grant Plaintiffs and all members
16   of the proposed Classes the following relief against Defendant:
17              a. That the Court certify the Classes under Rule 23 of the Federal Rules of Civil
18                  Procedure and appoint Plaintiffs as Class Representatives and their attorneys as Class
19                  Counsel to represent the members of the Classes;
20              b. That the Court declare that Defendant’s conduct violates the statutes referenced
21                  herein;
22              c. That the Court preliminarily and permanently enjoin Defendant from conducting
23                  business through the unlawful, unfair, or fraudulent business acts or practices, untrue,
24                  and misleading labeling and marketing and other violations of law described in this
25                  Complaint;
26              d. That the Court order preliminary and injunctive relief requiring Defendant to disclose
27                  that the Products contain toxic Heavy Metals;
28

     CLASS ACTION COMPLAINT                                                                              34
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 1               e. That the Court order Defendant to implement whatever measures are necessary to
 2                   remedy the unlawful, unfair, or fraudulent business acts or practices, untrue and
 3                   misleading advertising, and other violations of law described in this Complaint;
 4               f. That the Court order Defendant to notify each and every individual who purchased
 5                   the Products of the pendency of the claims in this action to give such individuals an
 6                   opportunity to obtain restitution from Defendant;
 7               g. For an award of compensatory damages, the amount of which is to be determined at
 8                   trial;
 9               h. For punitive damages;
10               i. That the Court grant Plaintiffs’ reasonable attorneys’ fees and costs of suit pursuant
11                   to California Code of Civil Procedure §1021.5, California Civil Code §1780(d), the
12                   common fund doctrine, and/or any other appropriate legal theory; and
13               j. That the Court grant such other and further relief as may be just and proper.
14                                       DEMAND FOR JURY TRIAL
15           Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury of any
16   and all issues in this action so triable of right.
17

18   Dated: June 24, 2022                             BURSOR & FISHER, P.A.
19
                                                      By:    /s/ L. Timothy Fisher
20

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     CLASS ACTION COMPLAINT                                                                             35
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21                                      *Pro Hac Vice Application Forthcoming

22                                      Attorneys for Plaintiffs and the Proposed Classes

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24

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     CLASS ACTION COMPLAINT                                                                 36
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 1            CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)

 2           I, L. Timothy Fisher, declare as follows:

 3           1.     I am an attorney at law licensed to practice in the State of California and a member

 4   of the bar of this Court. I am a partner at Bursor & Fisher, P.A., counsel of record for Plaintiffs

 5   Susan Gagetta and Tracie Gomez in this action. Ms. Gagetta is a resident of Antioch, California.

 6   Ms. Gomez is a resident of Morgan Hill, California. I have personal knowledge of the facts set forth

 7   in this declaration and, if called as a witness, I could and would competently testify thereto under

 8   oath.

 9           2.     The Complaint filed in this action is filed in the proper place for trial under Civil Code

10   Section 1780(d) in that a substantial portion of the events alleged in the Complaint occurred in the

11   Eastern District of California.

12           I declare under the penalty of perjury under the laws of the State of California and the United

13   States that the foregoing is true and correct and that this declaration was executed at Walnut Creek,

14   California this 24th day of June 2022.

15
                                                             /s/ L. Timothy Fisher
16                                                               L. Timothy Fisher
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     VENUE DECLARATION
